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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :   CRIMINAL NO.
                                                  :
             v.                                   :   MAGISTRATE NO. 21-mj-84 (ZMF)
                                                  :
 NICHOLAS ANTHONY MONCADA,                        :   VIOLATION:
             Defendant.                           :   40 U.S.C. §§ 5104(e)(2)(G) (Parading,
                                                  :   Demonstrating, or Picketing in a
                                                  :   Capitol Building)

                                   INFORMATION

       The United States Attorney charges that:

                                          COUNT ONE

       On or about January 6, 2021, within the District of Columbia, NICHOLAS ANTHONY

MONCADA willfully and knowingly paraded, demonstrated, and picketed in any United States

Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))



                                            Respectfully Submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            DC Bar No. 481052

                                    By:     /s/ Emory V. Cole
                                            EMORY V. COLE
                                            Assistant United States Attorney
                                            PA. Bar Number 49136
                                            601 D Street, N.W.
                                            Washington, D.C. 20530
                                            (202) 252-7692
                                            Emory.Cole@usdoj.gov
